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AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT

for the

District of Columbia

United States of America )
v. ) Case: 1:24-mj-00205 _
Troy Vincent Garrett (AKA: TeeRoy Garrett) ) Assighed to: Judge Meriweather, Robin M.
. Description: ‘COMPLAINT W/ ARREST WARRANT
)
Defendant(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of January 6, 2021 in the county of in the
in the District of Columbia __, the defendant(s) violated:

Code Section Offense Description

18 U.S.C. § 111(a)() - Assaulting, Resisting, or Impeding Certain Officers ,

18 U.S.C. § 231(a)(3) - Obstruction of Law Enforcement During Civil Disorder,

18 U.S.C. § 1752(a)(1) - Knowingly Entering or Remaining in any Restricted Building or Grounds Without Lawful Authority,
18 U.S.C. § 1752(a)(2) - Knowingly Entering or Remaining in any Restricted Building or Grounds Without Lawful Authority,
18 U.S.C. § 1752(a)(4) - Engaging in Physical Violence in a Restricted Building or Grounds,

40 U.S.C. § 5104(e)(2)(D) - Disorderly Conduct in a Capitol Building or Grounds,

40 U.S.C. § 5104(e)(2)(F) - Act of Physical Violence in the Capitol Building or Grounds.

This criminal complaint is based on these facts:

See attached statement of facts.

®W Continued on the attached sheet.

Complainant’s signature

Christopher Mayo, Special Agent
Printed name and litle

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone.

Date: 06/21/2024

Judge’s signature

City and state: Washington, D.C. Robin M. Meriweather, U.S. Magistrate Judge

Printed name and title

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Case: 1:24-mj-00205 ,
Assigned to: Judge Meriweather, Robin M.
Assign Date: 6/21/2024
Description: COMPLAINT W/ ARREST WARRANT

STATEMENT OF FACTS

Your affiant, Christopher Mayo, is a Special Agent assigned to the Federal Bureau of
Investigation (FBI)’s Miami Office. Currently, amongst my responsibilities, I am tasked with
investigating criminal activity in and around the Capitol grounds on January 6, 2021. As a Special
Agent serving with the FBI, I am authorized by law or by a Government agency to engage in or
supervise the prevention, detection, investigation, or prosecution of a violation of Federal criminal
laws.

The facts in this Affidavit come from my personal observations, my training and
experience, and information obtained from other agents, witnesses, and agencies or is based on a
review of various documents, records, and reports. Because this Affidavit is submitted for the
limited purpose of establishing probable cause, it does not contain every fact known by me or the
FBI. The dates and times listed in this Affidavit should be read as “on or about.”

Background: Events at the U.S. Capitol on January 6, 2021

The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
(USCP) attempted to maintain order and keep the crowd from entering the Capitol; however,
around 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.
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Shortly thereafter, at approximately 2:20 p.m. members of the United States House of

_ Representatives and United States Senate, including the President of the Senate, Vice President

Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

Evidence Linking TROY VINCENT GARRETT to the Assault on the U.S. Capitol
Troy Vincent Garrett (“GARRETT”) is a 48-year-old resident of the state of Florida.

The FBI initiated an investigation of GARRETT based on a reference to GARRETT in
another investigation into participants in the attack on the U.S. Capitol on January 6, 2021.

Based on the received information, your affiant conducted research on GARRETT and
identified a Stuart, Florida resident by that name with a date of birth of August 11, 1975. Your
affiant also reviewed Florida public records relating to GARRETT, including his driver’s license
photo from February 6, 2020.

Your affiant also received information regarding two accounts with the profile names
“Teeroy Garrett” and “TeeRoy Garrett II,” respectively, on the social media site Facebook believed
to belong to GARRETT. While both accounts are no longer publicly accessible, screen captures
of the “TeeRoy Garrett II” account showed that the account featured multiple selfie-style
photographs of an individual that your affiant recognized to be GARRETT. Records lawfully
obtained from Meta Platforms, Inc. show that the “Teeroy Garrett II” account was created by an
account holder using the name “TeeRoy Garrett II” and the verified registration email address
“troygarrett369@yahoo.com,” which is associated with GARRETT in public records. Images 1
and 2 below depict the individual I recognized as GARRETT.
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Image 2

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Your affiant also received information from anonymous citizens conducting online
investigations alleging that GARRETT was an active member of the Proud Boys prior to the events of
January 6, 2021 in Washington, DC. The Proud Boys are a nationalist organization with multiple U.S.
chapters and potential activity in other Western countries that describes itself as a “pro-Western
fraternal organization for men who refuse to apologize for creating the modern world.” Based on the
information received, your affiant reviewed open-source images from Proud Boys gatherings prior to
January 6, 2021, and identified an individual your affiant recognized, based on both the Facebook
profile pictures in Images 1 and 2 and GARRETT’s driver’s license photo, to be GARRETT. Images
3 through 5 below show GARRETT, circled in yellow in Images 3 and 5, at Proud Boys gatherings
prior to January 6, 2021. In these images, GARRETT can be seen wearing colors and insignia that
associate him with the Proud Boys.

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In August 2022, law enforcement agents interviewed INDIVIDUAL 1, who stated that he had
met GARRETT via the social media site Facebook around 2018 or 2019 and had subsequently
maintained contact with GARRETT via various means but had never met GARRETT in-person.
INDIVIDUAL 1 reported that he and GARRETT had spoken about their respective plans to travel to
Washington, DC on January 6, 2021, but had not made plans to meet. INDIVIDUAL 1 attended then-
President Trump’s rally on the morning of January 6, 2021 before returning to his hotel to take a nap.
INDIVIDUAL 1 stated that while napping he received a phone call from GARRETT, who asked
INDIVIDUAL 1 if INDIVIDUAL 1 was coming to the U.S. Capitol. INDIVIDUAL 1 left his hotel
and walked to the U.S. Capitol, where he attempted to call GARRETT by phone, but found that the
surroundings at the U.S. Capitol were too loud for INDIVIDUAL 1 to hear what GARRETT was
saying. INDIVIDUAL 1 stated that he never saw GARRETT in-person on January 6, 2021.

Publicly available footage and images taken prior to the breach at the U.S. Capitol show that
members of the Proud Boys, including an individual your affiant recognized to be GARRETT, gathered
near the Washington Monument in preparation for a march along the National Mall and around the U.S
Capitol. At the time, GARRETT can be seen wearing a black jacket, olive drab green pants, a tan backpack
with tan should straps, and a baseball-style hat with a red brim and a grey upper portion with red lettering
reading “GTG” on the front. Image 6 below shows the individual your affiant recognized to be GARRETT,
circled in yellow, during this gathering.

The Proud Boys group, including GARRETT (circled in yellow), eventually left the area of the
Washington Monument (Image 7) and marched along the National Mall (Image 8) before marching
along the west, north (Image 9), and east (Image 10) sides of the U.S. Capitol prior to the breach of
U.S. Capitol Grounds.
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The Proud Boys group, including GARRETT, eventually returned to the west side of the U.S.
Capitol Building and arrived in the vicinity of the Peace Memorial at approximately 12:50 p.m. Image
11 below shows GARRETT, circled in yellow with his “GTG” hat in his left hand, and other Proud
Boys near the Peace Memorial, with the then-intact fencing and signage of the restricted area of the
U.S. Capitol Grounds visible in the upper right quadrant of the image.

Rioters breached the outer fencing surrounding the restricted area of the U.S. Capitol Grounds
at approximately 12:53 p.m. As rioters advanced on the Lower West Plaza of the U.S. Capitol Building,
publicly available footage shows GARRETT made his way to the south side of the plaza, where
uniformed USCP officers were attempting to block rioters from advancing. Image 12 below shows
GARRETT, circled in yellow with his “GTG” hat again on his head, in close proximity to officers
shortly after rioters first entered the Lower West Plaza.
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Your affiant also reviewed footage taken of the Lower West Plaza of the U.S. Capitol by USCP
officers standing on the Lower West Terrace of the U.S. Capitol. Image 13 below, which is derived
from the USCP footage, shows GARRETT, circled in yellow and recognizable by his hat, jacket, and
backpack straps, at approximately 1:05 PM in close proximity to the uniformed USCP officers visible
on the left-hand side of the image. In Image 14, another rioter, circled in red with his back to the camera
while wearing a black jacket with a tan-edged hood hanging over his shoulders, can be seen just to the
lower left of GARRETT and standing in very close proximity to a riot shield held by a uniformed
USCP officer.

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As USCP officers attempted to keep rioters from advancing beyond the police line, video
footage shows the black-jacketed rioter circled in red in Image 14 above continues to stand in close
proximity to the officer’s riot shield. GARRETT can subsequently be seen approaching this rioter and

_ placing his left hand on the rioter’s right arm. Image 14 below shows GARRETT, circled in yellow,
touching the rioter standing between GARRETT and the uniformed police officer with GARRETT"s

left hand.

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As the USCP footage continues, GARRETT can be seen reaching around the black-jacketed
rioter and shoving the USCP officer’s riot shield with his right hand. Image 15 below shows
GARRETT, circled in yellow, shoving the officer’s shield.

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The USCP footage shows that GARRETT’s shove of the officer’s shield was done with
sufficient force to unbalance the officer. Image 16 below shows the aftermath of GARRETT’s shove,
with the officer’s right hand having come loose from the riot shield and his feet having moved back to
the edge of the step located behind him. .
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crowd.

The USCP police line on the Lower West Plaza was eventually reinforced by Metropolitan
Police Department (MPD) officers, and publicly available footage shows that the person your affiant
recognized to be GARRETT remained in close proximity to the police line, and was present when a
large blue billboard on a metal support frame, bearing the message “TRUMP 2020 KEEP AMERICA
GREAT!” was carried by a group of rioters into the Lower West Terrace. Image 17 below shows the
blue billboard and its metal support frame being passed overhead within the crowd of rioters on the
Lower West Plaza.

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As rioters collectively moved the billboard towards the police line on the Lower West
Plaza, open-source footage and images show that GARRETT was in close proximity to the police
line. Image 18 below shows GARRETT, circled in yellow and recognizable by his distinctive
“GTG” hat (with the police line seen in the upper right quadrant of the image).

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As rioters began to collectively drive the blue billboard into the temporary police line,
GARRETT moved closer to the police line, holding his phone in front of him with the billboard
behind him as though taking a selfie-style video or photograph (see Image 19 below, with
GARRETT circled in yellow).

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Open-source footage then shows that GARRETT turned and approached the rioters, who
were attempting to push the billboard against and on top of the police line while the uniformed
officers resisted by pushing against the billboard with their hands. Image 20 below, which was
taken from a vantage point above the billboard, shows uniformed police officers on the left side of
the image trying to repel the billboard.

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As GARRETT approached the rioters pushing the billboard against the police line, he
placed his right hand on the black backpack of another rioter who was actively pushing against the
billboard, as though GARRETT was supporting, pushing, or bracing against the other rioter.
Image 21 below shows GARRETT, with his head and hand circled in yellow, as he touches the
backpack of the other rioter who is touching the billboard.

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As the rioters continued to push against the billboard in an effort to push it into or onto the
police line, GARRETT moved slightly to the right, and then again placed his right hand onto the
back of a different rioter who was actively pushing against the billboard, as though GARRETT
was supporting, pushing, or bracing against the other rioter. Image 22 below shows GARRETT,
with his head and hand circled in yellow as his right hand is on the other rioter’s back.

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Rioters were ultimately successful in breaching the police lines on the Lower West Plaza,
which eventually compelled uniformed police officers to retreat from the plaza shortly after 2:30
p.m. After police retreated from the plaza, open-source images and video show that GARRETT
remained inside of the restricted area of the U.S. Capitol Grounds until after 4:00 PM, eventually
moving to the north side of the U.S. Capitol Building. Image 23 below shows GARRETT, circled
in yellow, on the north side of the U.S. Capitol after police reinforcements (visible in the upper
left quadrant of the image) cleared rioters off of the upper terraces of the U.S. Capitol.

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On February 23, 2024, deputies of the Martin County (FL) Sheriff’s Office responded to a
call for service to bar located approximately 2.2 miles from GARRETT’s known address in Stuart,
FL. During the call for service, deputies interacted with GARRETT, who provided his driver’s
license to deputies in response to their request for identification. On March 25, 2024, investigators
spoke with two of the deputies who responded to the call for service on February 23, 2024. Both
deputies were shown images and videos taken from January 6, 2021, including Images 11 and 18
above, and both deputies stated that GARRETT appeared to match the appearance of the man with
the “GTG” hat depicted in the images from January 6, 2021 above.

Based on the foregoing, your affiant submits that there is probable cause to believe that
GARRETT violated 18 U.S.C. §§ 1752(a)(1), (2), and (4) which make it a crime to (1) knowingly
enter or remain in any restricted building or grounds without lawful authority to do; (2) knowingly,
and with intent to impede or disrupt the orderly conduct of Government business or official
functions, engage in disorderly or disruptive conduct in, or within such proximity to, any restricted
building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct
of Government business or official functions; and (4) knowingly engages in any act of physical

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violence against any person or property in any restricted building or grounds; or attempts or
conspires to do so. For purposes of Section 1752 of Title 18, a “restricted building or grounds”
includes a posted, cordoned off, or otherwise restricted area of a building or grounds where the
President or other person protected by the Secret Service, including the Vice President, is or will
be temporarily visiting; or any building or grounds so restricted in conjunction with an event
designated as a special event of national significance.

Your affiant submits there is also probable cause to believe that GARRETT violated 40
U.S.C. §§ 5104(e)(2)(D) and (F) which make it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress; and (F) engage in an act of physical violence in the Grounds or any of the Capitol
Buildings.

Your affiant submits there is also probable cause to believe that GARRETT violated 18
U.S.C. § 111(a)(1), which makes it a crime to assault, resist, oppose, impede, intimidate, or
interfere with a federal law enforcement officer, as designated in Section 1114 of Title 18, while
engaged in or on account of the performance of his or her official duties. Section 1114 specifically
identified United States Capitol Police (“USCP”) Officers as federal law enforcement officers. The
definition under Section 1114 is further extended to include any person assisting such a federal
officer or employee in the performance of his or her official duties or on account of that assistance.

Finally, your affiant submits there is probable cause to believe that GARRETT violated 18
U.S.C. 231(a)(3), which makes it unlawful to commit or attempt to commit any act to obstruct,
impede, or interfere with any fireman or law enforcement officer lawfully engaged in the lawful
performance of his official duties incident to and during the commission of a civil disorder which
in any way or degree obstructs, delays, or adversely affects commerce or the movement of any
article or commodity in commerce or the conduct or performance of any federally protected
function. For purposes of Section 231 of Title 18, a federally protected function means any
function, operation, or action carried out, under the laws of the United States, by any department,
agency, or instrumentality of the United States or by an officer or employee thereof. This includes
the Joint Session of Congress where the Senate and House count Electoral College votes.

SA CHRISTOPHER MAYO
FEDERAL BUREAU OF INVESTIGATION

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1

by telephone, this 21st day of June 2024. ds wh 2024.06.21
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HONORABLE ROBIN M. MERIWEATHER
U.S. MAGISTRATE JUDGE

